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8 UNITED STATES D|STR|CT COURT
9 CENTRAL D|STR|CT OF CAL|FORN|A _ EASTERN DlVlSlON
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g V|RG|N|A SOUKUP, Case No:
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m 12 Plaintiff, COIV|PLA|NT FOR BENEF|TS UNDER
-G§ AN EMPLOYEE VVELFARE BENEF|T
m 13 vs. PLAN
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\- 14 METRoPoLiTAN i_iFE leuRANcE
m 15 coiviPANY,
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_ 15 Defendants.
17
18 P|aintiff alleges as follows:
19 1. This Court's jurisdiction is invoked pursuant to 28 U.S.C. §§ 1331, 1337 and
20 29 U.S.C. § 1132(a), (e), (f), and (g), of the Emp|oyee Retirement income Security Act
21 of 1974, 29 U.S.C. § 1101, etseq. (hereafter "ER|SA") as it involves a claim by Plaintiff
22 for Disabi|ity benefits under an employee benefit plan regulated and governed under
23 ERlSA. Jurisdiction is predicated under these code sections as Wel| as 28 U.S.C. §
24 1331 as this action involves a federal questionl
25 2. The ER|SA statute at 29 U.S.C. § 1133, in accordance With Regu|ations of
26 the Secretary of Labor, provides a mechanism for internal appeal of benefit denials
27 Those avenues of appeal have been exhausted
28 3. Plaintiff is informed and believes and thereon alleges that De|oitte, LLP

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Long Term Disability Plan (“Plan") is an employee Welfare benefit plan established and
maintained by De|oitte, Li.P to provide its employees and those of its subsidiaries and
affiliates, including P|aintiff, VlRG|N|A SOUKUP (“Plaintiff’ and/or“l\/ls. Soul<up") With
income protection and continued life insurance coverage in the event of a disability and
is the Plan Administrator.

4. At all relevant times Plaintiff Was a resident of California, an employee of
De|oitte, LLP, its successors, affiliates and/or subsidiaries, and a participant in the Plan.

5. Based upon information and belief, Plaintiff alleges that at all relevant times

herein Piaintiff Was covered under group insurance policy number 33458-G-LTD and

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group life insurance policy number 33458 that had been issued by Defendant

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l\/letropolitan l_ife insurance Company to the eligible participants and beneficiaries of the

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Plan, including Plaintiff.

6. The Plan provides a monthly benefit equivalent to sixty percent (60%) of

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14 Plaintiff’s pre-disability earnings less deductible sources of income following a 180 day
15 Elimination Period as We|| as continued life insurance coverage in the event of a

z _r 16 disability

_l 17 7. The Plan defines “Disab|ed” as:
18 ¢ You are receiving Appropriate Care and Treatment and complying
19 With the requirements of such treatment and
20 » You are unable to earn:
21 i;i During the E|imination Period and the next 24 months of
22 Sicl<ness or accidental injury, more than 80% of Your
23 Predisabi|ity Earnings at Your own job; and
24 i:i After such period, more than 60% of your Predisability
25 Earnings from any employer in Your Local Economy at any
26 gainful occupation for Which You are reasonably qualified
27 taking into account Your training, educationl and
28 expenence.

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8. The Plan provides monthly benefits to Plaintiff’s normal retirement age-age
67.

9. Prior to her disability under the terms of the Plan Plaintiff Was working as a
Administrative Assistant for De|oitte, LLP.

10. However, Plaintiff became disabled underthe terms of the Plan on or about
November 8, 2014 when Plaintiff Was involved in a motor vehicle collision that resulted
in a scapu|a fracture She subsequently filed a Long Term Disability benefits claim.

11. On or about January 5, 2015, Plaintiff saw Board Certified Family l\/ledicine
Physician Rommie Fakhoury, lVl.D. (“Dr. Fakhoury”) and reported fatigue, malaise,
memory impairment, and insomnia.

12_ On or about February 17, 2015, Plaintiff returned to Dr. Fakhoury who
diagnosed her with excessive sleepiness, migraine, and fatigue.

13. On or about February 19, 2015, Dr. Fakhoury stated Plaintiff could not
perform basic activities of daily living.

14. On or about lVlarch 2, 2015, Dr. Fakhoury precluded Plaintiff from returning
to work.

15. On or about April 19, 2015, Dr. Fakhoury listed diagnoses of memory loss,
chronic insomnia, and migraines. Dr. Fakhoury referred Plaintiff to a neurologist

16. On or about |V|ay 13, 2015, NlETROPOLlTAN LlFE lNSURANCE
COMPANY approved Plaintist Long Term Disability benefits payable beginning lV|ay 7,
2015.

17. On or about l\/lay 27, 2015, Dr. Fakhoury opined Plaintiff could never push
and pul|, could not lift more than ten pounds, could handle ten minutes per hour for a
total of four hours per day, could perform fingering a total of four hours per day, and
could only occasionally reach to the front and the side.

18. On or about lVlay 28, 2015, Plaintiff saw Neuroiogist Jeffrey Ries, D.O. (“Dr.
Ries”) when she reported difficulty sleeping, headaches, impulsive behavior , and

inattentiveness. Dr. Ries diagnosed Plaintiff with post~concussion syndrome

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19. On or about .Juiy 20, 2015, Piantiff saw Paui l\/ianciiias, F’h.D. (“Dr.
i\/ianci|ias") when she partially completed neuropsychological testing,

20. Plaintiff completed neuropsychological testing on August 26, 2015.

21. On or about September 15, 2015, Dr. iVianciiias noted Plaintiff’s
neuropsychological testing revealed below average verbal comprehension, intellectual
disability, impaired perpetual reasoning, impaired processing speed, "very significant"
problems with memory functioning, notable deficiencies in visual spatial functioning, and
severe problems with executive functioning. Dr. i\/ianciiias diagnosed Plaintiff with major
neurocognitive disorder due to Traumatic Brain injury (TB|) with evidence of cognitive
decline impacting consistency with memory, executive functioning and attention He
stated she Was notable to return to her place of employment

22. On or about February 10, 2018, Plaintiff’s saw Psychoiogist Sandra
l\/iartinez1 Psy.D. (“Dr. i\/iartinez”) who observed Plantiff’s processing speed was siow.
Plaintiff was unable to comprehend information that required various steps and had
trouble following instructions and commands

23. On or about February 12, 2016, METROPOL[TAN LlFE iNSUR/-\NCE
COi\/iP/-\N\' denied Plaintiff’s benefits.

24. On or about February 14, 20161 Plaintiff was deemed disabled by the Sociai
Security Administration as of November 8, 2014.

25. On or about iViarch 7, 2016, Plaintiff returned to Dr. i\/lartinez. Dr. l\/iartinez
had to repeat concepts and explain concepts slowly to Plaintiff as Plaintiff exhibited
problems with comprehension i\/ioreover, Dr. iViartinez noted Plaintiff became easily
distracted.

26. On or about iViarch 21, 2016, Dr. i\/iartinez stated Plaintiff continued to lose
focus and experience distraction

27. On or about April 4, 2016, Plaintiff continued to struggle with becoming
easily distracted.

28. On or about Aprii 25, 20161 Plaintiff continued to experience cognitive

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deficits. Specificaiiy, she had problems with language comprehension and memory.

29. On or about l\/iay 9, 2016, Plaintiff continued to have trouble Word finding. in
light of her language deficits, she was unable to communicate effectively with others.

30. On or about August 3, 2016, Dr. iVianci|ias stated Plaintiff continued to
exhibit signs and symptoms of i\fiajor Neurocognitive Disorder Dr. l\/ianciiias stated
Plaintiff’s cognitive decline was evident in regard to memory, executive functioning, and
attention Plaintiff’s Test of iViemory iViaiingering did not exhibit any poor test taking
efforts or malingering. l\/loreover, the Dot-Counting Test revealed no evidence of
malingering. Dr. iVianci|ias stated Plaintiff was completely disabled from ali work.

31. On or about September 2, 2016, Plaintiff was noted to have a steady
decline in her cognitive function He specified “...my patient has experienced some
burdensome repercussions due to her symptoms and state of cognitive decline, that her
prognosis from here on is poor."

32. On or about September 21, 2016, Plaintiff appealed lViETROPOLiTAN LlFE
iNSURANCE COl\/iPANY’s deniai.

33. On or about November 16, 2016, Dr. iVianci|ias stated Plaintiff’s Major
Neurocognitive Disorder is strongly supported by the results of extensive
neuropsychological testing. He further stated that Plaintiff is definitely unable to work in
any occupation at this time. She is disabled due to her cognitive limitations from her
head injury.

34. On or about December 5, 2016, iViETROPOLiTAN LlFE iNSUR/-\NCE
CO|V|PANY upheld its denial of Plaintiff’s benefits.

35. Based upon the substantial medical evidence in the possession of
lVlETROPOL|TAN LlFE lNSURANCE COi\/iPANY at the time ofthe deniai, the decision
to deny disability insurance benefits Was wrongful and contrary to the terms of the Plan

36. As a direct and proximate result of iViETROPOLiTAN LlFE iNSURANCE
COiViPANY ‘s failure to provide Piaintiff with disability benefits, Plaintiff has been
deprived of said disability benefits beginning on or about February 13, 2016 to the

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present date.

37. As a further direct and proximate result of the denial of benefits, Plaintiff has
incurred attorney fees to pursue this action, and is entitled to have such fees paid by
defendants pursuant to 29 U.S.C. § 1132(g)(1)1 ER|SA § 502(g)(1).

38. A controversy now exists between the parties as to whether Plaintiff is
disabled as defined in the Plan Plaintiff seeks the declaration ofthis Court that she
meets the Plan definition of disability and consequently she is entitled to ali benefits
from the Plan to Which she might be entitled while receiving disability benefits including
reimbursement of ali expenses and premiums paid for such benefits from the
termination of benefits to the present in the alternative, Plaintiff seeks a remand for a
determination of Plaintiff’s claim consistent with the terms ofthe Plan

VVHEREFORE, Plaintiff prays for relief against Defendants as foilows:

1. An award of benefits in the amount not paid Plaintiff beginning on or about
February 13, 2016 together with interest at the legal rate on each monthly payment from
the date it became due until the date it is paid; continuation of life insurance coverage
provided under the Plan; plus all other benefits from the Plaintiff which she might be
entitled while receiving disability benefits including reimbursement of ali expenses and
premiums paid for such benefits or, in the aiternative, a remand for a determination of
Plaintiff’s claim consistent with the terms of the Plan;

2. An order determining Plaintiff is entitled to future disability
payments/benefits including continuation of life insurance coverage so long as she
remains disabled as defined in the Plan;

3. For reasonable attorney fees incurred in this action; and,

4. For such other and further relief as the Court deems just and proper.

Dated: January 3, 2018 .l/_\?\<®/_'

FRAN N. DARRAS
Attorn ys for Plaintiff

 

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